              Case 1:13-cr-00678-JFM Document 85 Filed 03/31/15 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA

       v.                                              CRIMINAL NO. JFM-13-0678

MICHAEL LEE,
    Defendant.                                ... oOo ...

                            CONSENT ORDER OF FORFEITURE                                                       f~


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                                                                                                              en '·
        The defendant, having entered a plea of guilty to Counts One and TW:P of:'tlf~ Se?9..nd
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                                                                                                                              ....,....
Superseding Indictment in this case agrees to forfeit all of his rights, title, and int~rest.~n pro~y
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                                                                                       '                      ~
involved in the aforementioned offense or is property traceable to such property       of th~ oJfense1o
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which he entered a plea of guilty; it is hereby ORDERED, ADJUDGED, AND DECREED \'lrat

the following is FORFEITED to the United States pursuant to Fed.R.Crim.P. 32.2(b)(2), 28

U.S.C. § 2461 (c), 18 U.S.C. § 2253, and 21 U.S.C. § 853:

         1.     (U) Black LG cell phone, Model LOTUS, s/n 811KPJP0214940
        2.      Black Sanyo Katana cell phone, FCC ID HAEZSCP-6614,
        3.      LG Cellphone s/n 304CYLH0545000,
        4.      Samsung Tablet, s/n- R63B953169Y
        5.      Watch BR0192SRR396l/999,
        6.      VERIZON SAMSUNG sch-u365 cell phone,
        7.      Samsung Galaxy Phone,HEX: A0000302D3D33
        7.      Samsung Cell Phone, MElD A0000044B546FO
        8.      TOSHIBA LAPTOP S/N#68168174K W/CHARGER
        9.      $950 currency



Michael Lee                           Brendon Burson and Premal Dharia
Defendant                             Counsel for Defendant

So ordered:

J/2?/J)
Date                                      . J. Frederick Motz
                                      U ited States District Judge
